                   UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF NORTH CAROLINA

VIRGINIA BAKER,                               )
                                              )
                   Plaintiff,                 )
                                              )
v.                                            )            CASE NO. 5:19-cv-00391
                                              )
ALLY FINANCIAL INC.,                          )
                                              )
                   Defendant.                 )

               VOLUNTARY DISMISSAL WITH PREJUDICE

      Plaintiff, Virginia Baker, by and through undersigned counsel, pursuant to

Rule 41(a)(i) of the Federal Rules of Civil Procedure, hereby provides notice that

all claims of Plaintiff Virginia Baker against Defendant Ally Financial, Inc. are

hereby dismissed with prejudice. The parties shall bear their own fees, costs, and

expenses.


      This the 4th day of July 2020.
                                       /s/ John O’Neal
                                       John O'Neal
                                       NC State Bar # 23446
                                       O'Neal Law Office
                                       7 Battleground Court, Suite 103
                                       Greensboro, NC 27408
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                                       Of Counsel to:
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                         CERTIFICATE OF SERVICE

      I hereby certify that on the 4th day of July, 2020, I electronically filed the
foregoing VOLUNTARY DISMISSAL WITH PREJUDICE with the Clerk of
Court using the CM/ECF system, and service on all counsel of record will be
automatically accomplished through the Notice of Electronic Filing.

      This the 4th day of July, 2020.


                                             /s/ John O’Neal
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                                             N.C. State Bar #23446
                                             O’NEAL LAW OFFICE
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